SO ORDERED.

SIGNED this 13th day of March, 2020.




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             Case 19-07025   Doc# 25   Filed 03/13/20   Page 1 of 10
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    Case 19-07025   Doc# 25   Filed 03/13/20   Page 2 of 10
4




    Case 19-07025   Doc# 25   Filed 03/13/20   Page 3 of 10
5




    Case 19-07025   Doc# 25   Filed 03/13/20   Page 4 of 10
9




    Case 19-07025   Doc# 25   Filed 03/13/20   Page 5 of 10
12




     Case 19-07025   Doc# 25   Filed 03/13/20   Page 6 of 10
15




     Case 19-07025   Doc# 25   Filed 03/13/20   Page 7 of 10
17




     Case 19-07025   Doc# 25   Filed 03/13/20   Page 8 of 10
19




     Case 19-07025   Doc# 25   Filed 03/13/20   Page 9 of 10
Case 19-07025   Doc# 25   Filed 03/13/20   Page 10 of 10
